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      Fill in this information to identify the case:

                  Arboretum Crossing, LLC
      Debtor name __________________________________________________________________
                                              Western
      United States Bankruptcy Court for the: ______________________             Texas
                                                                     District of _________

      Case number (If known):   _________________________
                                                                              (State)
                                                                                                                                           Check if this is an
                                                                                                                                               amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                   12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete          Name, telephone number, and      Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code    email address of creditor        (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                            contact                          debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                             professional          unliquidated,   total claim amount and deduction for value of
                                                                             services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                             government
                                                                             contracts)
                                                                                                                   Total claim, if    Deduction for       Unsecured
                                                                                                                   partially          value of            claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff

1     Cupertino Builders, LLC                1159 Sonora Ct                                                                                             $103,927.55
                                             Suite 202
                                             Sunyvale, CA 94086

2     West Texas Stone                      5206 Orsini Blfs                                                                                            $69,650.88
      Solutions                             Round Rock, TX 78665

3     Ahern Rentals, Inc.                   8350 Eastgate Road
                                            Henderson, NV 89015                                                                                            unknown

4       City of Austin                       PO Box 2267                                                                                                  $12,901.06
                                             Austin, TX 78783-2267


5      Alliance Tax Advisors                 433 E Las Colinas Blvd                                                                                       $12,330.34
                                             Suite 300
                                             Irving, TX 75039

6      North by Northwest LLC                3801 Prarie Ln                                                                                                $2,417.60
                                             Austin, TX 78728


       Inoca Holdco II, LLC                  FCS Fox Commerical Services LLC
7
                                             PO Box 19047                                                                                                  $1,914.68
                                             Austin, TX 78760


        Yoga Pod                             JMH Yogi, LLC                                           C
8                                                                                                                                                         $11,308.33
                                             1817 Chalk Rock Cove
                                             Austin, TX 78735




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    Debtor         Arboretum Crossing, LLC
                 _______________________________________________________                       Case number (if known)_____________________________________
                 Name




     Name of creditor and complete         Name, telephone number, and   Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code   email address of creditor     (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                           contact                       debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                         professional           unliquidated,   total claim amount and deduction for value of
                                                                         services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                         government
                                                                         contracts)
                                                                                                                Total claim, if    Deduction for       Unsecured
                                                                                                                partially          value of            claim
                                                                                                                secured            collateral or
                                                                                                                                   setoff

       TSO Delivery, LLC                   3909 N Interstate 35                                    C
9
                                           Suite E-5                                                                                                   $3,777.50
                                           Austin, TX 78722

10      Skin Zen LLC                       2006 Autumn Fire                                        C                                                    $3,227.29
                                           Cedar Park, TX 78613


11




12




13




14




15




16




17




18




19




20




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